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          Exhibit 7
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                                           U.S. Patent No. 7,450,507 (“’507 Patent”)
Exemplary Accused Product

        NetApp products, including at least each of the following products (and their variations) infringe at least Claim 1 of the ’507
Patent: NetApp ONTAP 9.4 (and later versions) operating system and data management software. The infringement chart below is
based on the NetApp ONTAP 9.4 operating system and data management software (“ONTAP Management Software”), which is
exemplary of the infringement of the ’507 Patent.

                   Claims                                                  ONTAP Management Software
 [1pre]. A method for rate-limiting a          ONTAP Management Software performs a method for rate-limiting a traffic stream
 traffic stream using a rate-limit hierarchy   using a rate-limit hierarchy at a network node.
 at a network node comprising:




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               Guaranteeing throughput with QoS
               You can use storage qual ity of service (QoS) to guarantee that performance of critical
               workloads is not degraded by competing workloads . You can set a throughput ceiling
               on a competing workload to limit its impact on system resources , or set a throughput
               floorfor a critical workload, ensuring that it meets minimum throughput targets ,
               regardless of demand by competing workloads . You can even set a ceiling and floor for
               the same workload .

               Understanding throughput ceilings (QoS Max)

               A throughput cei ling limits throughput for a workload to a maximum number of IOPS, MB/s, or IOPS, MB/s . In the figure below, the throughput
               ceiling for workload 2 ensures that it does not "bully" workloads 1 and 3.


               A policy group defines the throughput ceiling for one or more workloads. A workload represents the 1/0operations for a storage object: a
               volume , file , or LUN, or all the volumes , files , or LUNs in an SVM. You can spec ify the ceiling when you create the policy group , or you can wait
               until after you mon itor workloads to specify it.


               Note: Throughput to workloads might excee d the spec ified ceiling by up to 10 percent , especially if a workload experiences rapid changes in
               throughput. The ceiling might be exceeded by up to 50% to handle bursts . Bursts occur on single nodes when tokens accumulate up to 150%



                BeforeOoS




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                After QoS - Cemng



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                                                BootSIOnn




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              https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
              mon%2FGUID-B144F39A-2E14-4048-91CA-D8080C50F70D.html.




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                                              Setting a throughputceiling with QoS
                                              You can use the max-throughput       field for a policy group to def ine a throughput
                                              ceiling for storage object workloads (QoS Max). You can apply the policy group when
                                              you create or modify the storage object.

                                              Before you begin

                                                 • You must be a cluster administrator to create a policy group.

                                                 • You must be a cluster administrator to apply a policy group to an SVM.


                                              About this task

                                                 • Starting with ONTAP 9.4, you can use a non-shared QoS policy group to specify that the defined throughput ceiling applies to each
                                                  member workload individually . Otherwise, the policy group is shared : the total throughput for the workloads assigned to the policy group
                                                  cannot exceed the specified ceiling .

                                                  Set -is-shared•false          for the gos   policy-group   create   command to specify a non-shared policy group.

                                                • You can specify the throughput limit for the ceiling in IOPS, MB/s, or IOPS, MB/s. If you specify both IOPS and MB/s, whichever limit is
                                                   reached first is enforced.

                                                   Note: If you set a ceiling and a floor for the same workload, you can specify the throughput limit for the ceiling in IOPS only.

                                                 • A storage object that is subject to a QoS limit must be contained by the SVM to which the policy group belongs . Multiple policy groups
                                                  can belong to the same SVM.

                                                 • You cannot assign a storage object to a policy group if its containing object or its child objects belong to the policy group.

                                                 • It is a QoS best practice to apply a policy group to the same type of storage objects .




                                            https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
                                            mon%2FGUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.

[1a] subjecting a packet to a first rate-   ONTAP Management Software subjects a packet to a first rate-limit check where the
limit check, said first rate-limit check    first rate-limit check corresponds to a first-level traffic classification. For example, by
corresponding to a first-level traffic      classifying storage object workloads under policy groups and subjecting data packets to
classification;                             a first rate-limit check of the policy group.




                                                                           Page 3
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               Storage QoS workflow
               If you already know the performance requirements for the workloads you want to
               manage with QoS, you can specify the throughput limit when you create the policy
               group . Otherwise , you can wait until after you monitor the workloads to specify the limit.


                        Identifystorageobjects
                          lo assignlo policy
                               groups



                          Do you know the
                           perbrmance
                         requiremen ts for the
                             worl<loads?




                             Adjust policy
                           group settings,
                            tt necessary




              https://docs.netapp.com/ontap-9/index.jsp?topic=/com.netapp.doc.pow-perf-
              mon/GUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.




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               Guaranteeingthroughputwith QoS
               You can use storage quality of service (QoS) to guarantee that performance of critical
               workloads is not degraded by competing workloads. You can set a throughput ceiling
               on a competing workload to limit its impact on system resources, or set a throughput
               floor for a critical workload , ensur ing that it meets minimum throughput targets ,
               regardless of demand by competing workloads . You can even set a ceiling and floor for
               the same workload .

               Understanding throughput ceilings (QoS Max)

               A throughput ceiling limits throughput for a workload to a maximum number of IOPS, MB/s, or IOPS, MB/s . In the figure below , the throughput
               ceiling for workload 2 ensures that it does not "bully" workloads 1 and 3.


               A policy group defines the throughput ceiling for one or more workloads . A workload represents the 1/0 operations for a storage object: a
               volume , file, or LUN, or all the volumes , files , or LUNs in an SVM. You can specify the ceiling when you create the policy group , or you can wait
               until after you monitor workloads to specify it.


               Note: Throughput to workloads might exceed the specified ceiling by up to 10 percent, especially if a workload experiences rapid changes in
               throughput. The ceiling might be exceeded by up to 50% to handle b ursts. Bursts occur on single nodes when tokens accumulate up to 150%



                Before QoS                     0004 Slorm


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                                                                                Q.




                AfterQoS - Ceiling             Boot Stonn




              https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
              mon%2FGUID-B144F39A-2E14-4048-91CA-D8080C50F70D.html.




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               Setting a throughputceiling with QoS
               You can use the max-throughput       field for a policy group to define a throughput
               ceiling for storage object workloads (QoS Max). You can apply the policy group when
               you create or modify the storage object.

               Before you begin

                   • You must be a cluster administrator to create a policy group.

                   • You must be a cluster administrator to apply a policy group to an SVM.


               About this task

                   • Starting with ONTAP 9.4, you can use a non-sharedQoS policy group to specify that the defined throughput ceiling applies to each
                     member workload individually. Otherwise. the policy group is shared: the total throughput for the workloads assigned to the policy group
                     cannot exceed the specified ceiling.

                     Set -is-s   hared•false       for the gos   policy-group   create   command to specify a non-shared policy group.

                   • You can specify the throughput limit for the ceiling in IOPS, MB/s, or IOPS, MB/s. If you specify both IOPS and MB/s, whichever limit is
                     reached first is enforced .

                     Note: If you set a ceiling and a floor for the same workload, you can specify the throughput limit for the ceiling in IOPS only.

                   • A storage object that is subject to a QoS limit must be contained by the SVM to which the policy group belongs. Multiple policy groups
                     can belong to the same SVM.

                   • You cannot assign a storage object to a policy group if its containing object or its child objects belong to the policy group.

                   • It is a QoS best practice to apply a policy group to the same type of storage objects .




              https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
              mon%2FGUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.

               Understanding shared and non-shared QoS policy groups

               Starting with ONTAP 9.4 , you can use a non-sharedQoS policy group to specify that the defined throughput ceiling or floor applies to each
               member workload individually . Behavior of shared policy groups depends on the policy type:


                  • For throughput ceilings , the total throughput for the workloads assigned to the shared policy group cannot exceed the specified ceiling .

                  • For throughput floors, the shared policy group can be applied to a single workload only.




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                                              https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
                                              mon%2FGUID-B144F39A-2E14-4048-91CA-D8080C50F70D.html.
                                              Steps

                                                1. Create a policy group :

                                                  qo • polic          y - g r oup crea t e - po licy     g r o up po lJ.c y_g ro up - v • erver      SVH -max -t hr oughput               awab er _o f_ i op • 1Hh/S I i op • , Mb/ S -is-s    ha r e d
                                                  true     I f alse
                                                  For complete command syntax, see the man page. You can use the gos policy-group                                     modify command to adjust throughput ceilin g s.

                                                  Example
                                                  The lo lio'Mng comman d creates the shared policy g roup pg-v s l with a maximum throughpu t ol 5,000 IOPS:

                                                      cluaterl        : :> qoa policy     - group      create    -policy     group    pg-val      - vaerver       val     -max-throughput            SOOOiope - is - shared       true
                                                                                                                                                                                                                                                          I
                                                  Example
                                                  The follown g command crea tes the non-sha red policy grou p pg - vs J w,th a maximum thro ugh put of 100 IOPS or 400 Kb/5 :

                                                      cluster!::        > qos policy-group             create    -po l icy   group    pg-vs3      -vserver        vs3 -max-throughput                100iops,400KB/s        -is-shared        false       I
                                                  Example
                                                  The following comman d creates the non•shared po licy g rou p pg -va 4 withou t a through p ut limit:

                                                      cluster!::>          gos   policy-group          create    -policy     group    pg-ve4      - vserver       vs4     - is - shared      false
                                                                                                                                                                                                                                                          I
                                                2. Ap p ly a policy group to an SVM, file, volume, or LUN:

                                                  • tor 11g e_ ob je ct       cr ea t e - v •e rv e r SVII - qo •- pol i cy - group     policy     _ group

                                                  For complete comma nd syntax, see the man pages. You can use the st orage _ object                             modify      com mand to appl y a different policy g roup to the storage object.

                                                  Example
                                                  The following comma nd applies po licy g rou p pg-ve l to SVM vs 1:

                                                      cluster!::>          veerver     create       -vserver     val   -gos-policy-group           pg-val
                                                                                                                                                                                                                                                          I
                                                  Example
                                                  The follown g commands ap ply policy group pg-ap p to the vol umes appl and app2 :

                                                      clusterl:        : > volwae     create    -vserver        vs2 -volume     ap p l -aggregate             aggrl     -gos-policy-group             pg-app
                                                                                                                                                                                                                                                          I
                                                      clusterl:        :> volume      create    -v s erver      vs2 -volume     ap p 2 -aggregate             agg r l -gos-policy-group               pg-app
                                                                                                                                                                                                                                                          I
                                              https://docs.netapp.com/ontap-9/index.jsp?topic=/com.netapp.doc.pow-perf-
                                              mon/GUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.

[1b] subjecting said packet to a second       ONTAP Management Software subjects a packet to a second rate-limit check and an
rate-limit check and an infinity rate-limit   infinity rate-limit check where the second rate-limit check and infinity rate-limit check
check, said second rate-limit check and       corresponds to a second-level traffic classification. For example, the traffic policy
said infinity rate-limit check                classifies storage object workloads and subjects data packets to a second rate-limit


                                                                                         Page 7
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corresponding to a second-level traffic   check and an infinity rate-limit check, e.g., set by the policy group throughput ceiling
classification;                           setting for a non-shared QoS policy group.

                                           Storage QoS workflow
                                           If you already know the performance requirements for the workloads you want to
                                           manage with QoS, you can specify the throughput limit when you create the policy
                                           group . Otherwise, you can wait until after you monitor the workloads to specify the limit.


                                                    Identifystorageobjects
                                                      lo assignlo policy
                                                           groups



                                                      Do you know the
                                                       perbrmance
                                                     requirements for the
                                                         worl<loads?




                                                        Adjust policy
                                                       group settings,
                                                        if necessary




                                          https://docs.netapp.com/ontap-9/index.jsp?topic=/com.netapp.doc.pow-perf-
                                          mon/GUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.




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               Guaranteeingthroughputwith QoS
               You can use storage quality of service (QoS) to guarantee that performance of critical
               workloads is not degraded by competing workloads. You can set a throughput ceiling
               on a competing workload to limit its impact on system resources, or set a throughput
               floor for a critical workload , ensuring that it meets minimum throughput targets ,
               regardless of demand by competing workloads . You can even set a ceiling and floor for
               the same workload .

               Understanding throughput ceilings (QoS Max)

               A throughput ce iling limits throughput for a workload to a maximum number of IOPS. MB/s . or IOPS. MB/s . In the figure below , the throughput
               ceiling for workload 2 ensures that it does not 'bully' workloads 1 and 3.


               A policy group defines the throughput ce iling for one or more work loads . A workload rep resents the 1/0 operat ions for a storage object: a
               vo lume , file, or LUN, or all the volumes , files , or LUNs in an SVM. You can spec ify the ceiling when you c reate the policy group , or you can wait
               until after you monitor workloads to specify it.


                Note: Through put to workloads might exceed the specified ce iling by up to 10 percent, especially if a work load exper iences rapid changes in
                throughput. The cei ling might be exceeded by up to 50% to handle b ursts. Bursts occur on single nodes when tokens accumulate up to 150%



                Before QoS                     BootSlotm



                                                                                  2
                                                                                 ..!
                After OoS - Celling            BootStorm




              https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
              mon%2FGUID-B144F39A-2E14-4048-91CA-D8080C50F70D.html.




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                Setting a throughputceiling with QoS
                You can use the max-throughput       field for a policy group to define a throughput
                ceiling for storage object workloads (QoS Max). You can apply the policy group when
                you create or modify the storage object.

                Before you begin

                   • You must be a cluster administrator to create a policy group.

                   • You must be a cluster administrator to apply a policy group to an SVM.


                About this task

                   • Starting with ONTAP 9.4, you can use a non-sharedQoS policy group to specify that the defined throughput ceiling applies to each
                     member workload individually. Otherwise. the policy group is shared: the total throughput for the workloads assigned to the policy group
                     cannot exceed the specified ceiling.

                     Set -is-s   hared•false       for the gos   policy-group   create   command to specify a non-shared policy group.

                   • You can specify the throughput limit for the ceiling in IOPS, MB/s, or IOPS, MB/s. If you specify both IOPS and MB/s, whichever limit is
                     reached first is enforced .

                     Note: If you set a ceiling and a floor for the same workload, you can specify the throughput limit for the ceiling in IOPS only.

                   • A storage object that is subject to a QoS limit must be contained by the SVM to which the policy group belongs. Multiple policy groups
                     can belong to the same SVM.

                   • You cannot assign a storage object to a policy group if its containing object or its child objects belong to the policy group.

                   • It is a QoS best practice to apply a policy group to the same type of storage objects .




              https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
              mon%2FGUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.

               Understanding shared and non-shared QoS policy groups

               Starting with ONTAP 9.4 , you can use a non-sharedQoS policy group to specify that the defined throughput ceiling or floor applies to each
               member workload individually . Behavior of shared policy groups depends on the policy type:


                  • For throughput ceilings , the total throughput for the workloads assigned to the shared policy group cannot exceed the specified ceiling .

                  • For throughput floors, the shared policy group can be applied to a single workload only.




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                                             https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
                                             mon%2FGUID-B144F39A-2E14-4048-91CA-D8080C50F70D.html.
                                             Steps

                                               1. Create a policy group :

                                                 qo • polic          y - g r oup crea t e - po licy     g r o up po lJ.c y_g ro up - v • erver      SVH -max -t hr oughput               awab er _o f_ i op • 1Hh/S I i op • , Mb/ S -is-s    ha r e d
                                                 true     I f alse
                                                 For complete command syntax, see the man page. You can use the gos policy-group                                     modify command to adjust throughput ceilin g s.

                                                 Example
                                                 The lo lio'Mng comman d creates the shared policy g roup pg-v s l with a maximum throughpu t ol 5,000 IOPS:

                                                     cluaterl        : :> qoa policy     - group      create    -policy     group    pg-val      - vaerver       val     -max-throughput            SOOOiope - is - shared       true
                                                                                                                                                                                                                                                         I
                                                 Example
                                                 The follown g command crea tes the non-sha red policy grou p pg - vs J w,th a maximum thro ugh put of 100 IOPS or 400 Kb/5 :

                                                     cluster!::        > qos policy-group             create    -po l icy   group    pg-vs3      -vserver        vs3 -max-throughput                100iops,400KB/s        -is-shared        false       I
                                                 Example
                                                 The following comman d creates the non•shared po licy g rou p pg -va 4 withou t a through p ut limit:

                                                     cluster!::>          gos   policy-group          create    -policy     group    pg-ve4      - vserver       vs4     - is - shared      false
                                                                                                                                                                                                                                                         I
                                               2. Ap p ly a policy group to an SVM, file, volume, or LUN:

                                                 • tor 11g e_ ob je ct       cr ea t e - v •e rv e r SVII - qo •- pol i cy - group     policy     _ group

                                                 For complete comma nd syntax, see the man pages. You can use the st orage _ object                             modify      com mand to appl y a different policy g roup to the storage object.

                                                 Example
                                                 The following comma nd applies po licy g rou p pg-ve l to SVM vs 1:

                                                     cluster!::>          veerver     create       -vserver     val   -gos-policy-group           pg-val
                                                                                                                                                                                                                                                         I
                                                 Example
                                                 The follown g commands ap ply policy group pg-ap p to the vol umes appl and app2 :

                                                     clusterl:        : > volwae     create    -vserver        vs2 -volume     ap p l -aggregate             aggrl     -gos-policy-group             pg-app
                                                                                                                                                                                                                                                         I
                                                     clusterl:        :> volume      create    -v s erver      vs2 -volume     ap p 2 -aggregate             agg r l -gos-policy-group               pg-app
                                                                                                                                                                                                                                                         I
                                             https://docs.netapp.com/ontap-9/index.jsp?topic=/com.netapp.doc.pow-perf-
                                             mon/GUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.

[1c] granting an automatic pass to said      ONTAP Management Software grants an automatic pass to the data packet from the
packet from said infinity rate-limit check   infinity rate-limit check regardless of whether or not the data packet passes the second
regardless of whether or not said packet     rate-limit check. For example, the storage object workloads can be configured where in
passes said second rate-limit check; and     the situation the remaining bandwidth for the policy group is not utilized by other


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              storage object workloads, the storage object workload at issue may receive an automatic
              pass from the infinity rate-limit check and use the remaining bandwidth of the policy
              group, even if it has reached its individual throughput ceiling.

               Storage QoS workflow
               If you already know the performance requirements for the workloads you want to
               manage with QoS, you can specify the throughput limit when you create the policy
               group . Otherwise, you can wait until after you monitor the workloads to specify the limit.


                        Identifystorageobjects
                          10assign 10 policy
                               groups



                           Do you know the
                             pe rlonnance
                         requiremen ls lor lhe
                             workloads?




                            Adjusl policy
                           group settings,
                            tt necessary




              https://docs.netapp.com/ontap-9/index.jsp?topic=/com.netapp.doc.pow-perf-
              mon/GUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.



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               Guaranteeingthroughputwith QoS
               You can use storage quality of service (QoS) to guarantee that performance of critical
               workloads is not degraded by competing workloads. You can set a throughput ceiling
               on a competing workload to limit its impact on system resources, or set a throughput
               floor for a critical workload , ensuring that it meets minimum throughput targets ,
               regardless of demand by competing workloads . You can even set a ceiling and floor for
               the same workload .

               Understanding throughput ceilings (QoS Max)

               A throughput ce iling limits throughput for a workload to a maximum number of IOPS. MB/s . or IOPS. MB/s . In the figure below , the throughput
               ceiling for workload 2 ensures that it does not 'bully' workloads 1 and 3.


               A policy group defines the throughput ce iling for one or more work loads . A workload rep resents the 1/0 operat ions for a storage object: a
               vo lume , file, or LUN, or all the volumes , files , or LUNs in an SVM. You can spec ify the ceiling when you c reate the policy group , or you can wait
               until after you monitor workloads to specify it.


                Note: Through put to workloads might exceed the specified ce iling by up to 10 percent, especially if a work load exper iences rapid changes in
                throughput. The cei ling might be exceeded by up to 50% to handle b ursts. Bursts occur on single nodes when tokens accumulate up to 150%



                Before QoS                     BootSlotm



                                                                                  2
                                                                                 ..!
                After OoS - Celling            BootStorm




              https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
              mon%2FGUID-B144F39A-2E14-4048-91CA-D8080C50F70D.html.




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                Setting a throughputceiling with QoS
                You can use the max-throughput       field for a policy group to define a throughput
                ceiling for storage object workloads (QoS Max). You can apply the policy group when
                you create or modify the storage object.

                Before you begin

                   • You must be a cluster administrator to create a policy group.

                   • You must be a cluster administrator to apply a policy group to an SVM.


                About this task

                   • Starting with ONTAP 9.4, you can use a non-sharedQoS policy group to specify that the defined throughput ceiling applies to each
                     member workload individually. Otherwise. the policy group is shared: the total throughput for the workloads assigned to the policy group
                     cannot exceed the specified ceiling.

                     Set -is-s   hared•false       for the gos   policy-group   create   command to specify a non-shared policy group.

                   • You can specify the throughput limit for the ceiling in IOPS, MB/s, or IOPS, MB/s. If you specify both IOPS and MB/s, whichever limit is
                     reached first is enforced .

                     Note: If you set a ceiling and a floor for the same workload, you can specify the throughput limit for the ceiling in IOPS only.

                   • A storage object that is subject to a QoS limit must be contained by the SVM to which the policy group belongs. Multiple policy groups
                     can belong to the same SVM.

                   • You cannot assign a storage object to a policy group if its containing object or its child objects belong to the policy group.

                   • It is a QoS best practice to apply a policy group to the same type of storage objects .




              https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
              mon%2FGUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.

               Understanding shared and non-shared QoS policy groups

               Starting with ONTAP 9.4 , you can use a non-sharedQoS policy group to specify that the defined throughput ceiling or floor applies to each
               member workload individually . Behavior of shared policy groups depends on the policy type:


                  • For throughput ceilings , the total throughput for the workloads assigned to the shared policy group cannot exceed the specified ceiling .

                  • For throughput floors, the shared policy group can be applied to a single workload only.




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                                              https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
                                              mon%2FGUID-B144F39A-2E14-4048-91CA-D8080C50F70D.html.
                                              Steps

                                                1. Create a policy group :

                                                  qo • polic          y - g r oup crea t e - po licy     g r o up po lJ.c y_g ro up - v • erver      SVH -max -t hr oughput               awab er _o f_ i op • 1Hh/S I i op • , Mb/ S -is-s    ha r e d
                                                  true     I f alse
                                                  For complete command syntax, see the man page. You can use the gos policy-group                                     modify command to adjust throughput ceilin g s.

                                                  Example
                                                  The lo lio'Mng comman d creates the shared policy g roup pg-v s l with a maximum throughpu t ol 5,000 IOPS:

                                                      cluaterl        : :> qoa policy     - group      create    -policy     group    pg-val      - vaerver       val     -max-throughput            SOOOiope - is - shared       true
                                                                                                                                                                                                                                                          I
                                                  Example
                                                  The follown g command crea tes the non-sha red policy grou p pg - vs J w,th a maximum thro ugh put of 100 IOPS or 400 Kb/5 :

                                                      cluster!::        > qos policy-group             create    -po l icy   group    pg-vs3      -vserver        vs3 -max-throughput                100iops,400KB/s        -is-shared        false       I
                                                  Example
                                                  The following comman d creates the non•shared po licy g rou p pg -va 4 withou t a through p ut limit:

                                                      cluster!::>          gos   policy-group          create    -policy     group    pg-ve4      - vserver       vs4     - is - shared      false
                                                                                                                                                                                                                                                          I
                                                2. Ap p ly a policy group to an SVM, file, volume, or LUN:

                                                  • tor 11g e_ ob je ct       cr ea t e - v •e rv e r SVII - qo •- pol i cy - group     policy     _ group

                                                  For complete comma nd syntax, see the man pages. You can use the st orage _ object                             modify      com mand to appl y a different policy g roup to the storage object.

                                                  Example
                                                  The following comma nd applies po licy g rou p pg-ve l to SVM vs 1:

                                                      cluster!::>          veerver     create       -vserver     val   -gos-policy-group           pg-val
                                                                                                                                                                                                                                                          I
                                                  Example
                                                  The follown g commands ap ply policy group pg-ap p to the vol umes appl and app2 :

                                                      clusterl:        : > volwae     create    -vserver        vs2 -volume     ap p l -aggregate             aggrl     -gos-policy-group             pg-app
                                                                                                                                                                                                                                                          I
                                                      clusterl:        :> volume      create    -v s erver      vs2 -volume     ap p 2 -aggregate             agg r l -gos-policy-group               pg-app
                                                                                                                                                                                                                                                          I
                                              https://docs.netapp.com/ontap-9/index.jsp?topic=/com.netapp.doc.pow-perf-
                                              mon/GUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.

[1d] granting an overall pass of said rate-   ONTAP Management Software grants an overall pass of the rate-limit hierarchy if the
limit hierarchy if said packet passes said    data packet passes the first rate-limit check, even if the data packet failed the second
first rate-limit check, even if said packet   rate-limit check. For example, the storage object workload can be configured where in
fails said second rate-limit check.           the situation the remaining bandwidth for the policy group is not utilized by other


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              storage object workloads, the storage object workload at issue may receive an automatic
              pass from the infinity rate-limit check and use the remaining bandwidth of the policy
              group, even if it has reached its individual throughput ceiling.

               Storage QoS workflow
               If you already know the performance requirements for the workloads you want to
               manage with QoS, you can specify the throughput limit when you create the policy
               group . Otherwise, you can wait until after you monitor the workloads to specify the limit.


                        Identifystorageobjects
                          10assign 10 policy
                               groups



                           Do you know the
                             pe rlonnance
                         requiremen ls lor lhe
                             workloads?




                            Adjusl policy
                           group settings,
                            tt necessary




              https://docs.netapp.com/ontap-9/index.jsp?topic=/com.netapp.doc.pow-perf-
              mon/GUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.



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               Guaranteeingthroughputwith QoS
               You can use storage quality of service (QoS) to guarantee that performance of critical
               workloads is not degraded by competing workloads. You can set a throughput ceiling
               on a competing workload to limit its impact on system resources, or set a throughput
               floor for a critical workload , ensuring that it meets minimum throughput targets ,
               regardless of demand by competing workloads . You can even set a ceiling and floor for
               the same workload .

               Understanding throughput ceilings (QoS Max)

               A throughput ce iling limits throughput for a workload to a maximum number of IOPS. MB/s . or IOPS. MB/s . In the figure below , the throughput
               ceiling for workload 2 ensures that it does not 'bully' workloads 1 and 3.


               A policy group defines the throughput ce iling for one or more work loads . A workload rep resents the 1/0 operat ions for a storage object: a
               vo lume , file, or LUN, or all the volumes , files , or LUNs in an SVM. You can spec ify the ceiling when you c reate the policy group , or you can wait
               until after you monitor workloads to specify it.


                Note: Through put to workloads might exceed the specified ce iling by up to 10 percent, especially if a work load exper iences rapid changes in
                throughput. The cei ling might be exceeded by up to 50% to handle b ursts. Bursts occur on single nodes when tokens accumulate up to 150%



                Before QoS                     BootSlotm



                                                                                  2
                                                                                 ..!
                After OoS - Celling            BootStorm




              https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
              mon%2FGUID-B144F39A-2E14-4048-91CA-D8080C50F70D.html.




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                Setting a throughputceiling with QoS
                You can use the max-throughput       field for a policy group to define a throughput
                ceiling for storage object workloads (QoS Max). You can apply the policy group when
                you create or modify the storage object.

                Before you begin

                   • You must be a cluster administrator to create a policy group.

                   • You must be a cluster administrator to apply a policy group to an SVM.


                About this task

                   • Starting with ONTAP 9.4, you can use a non-sharedQoS policy group to specify that the defined throughput ceiling applies to each
                     member workload individually. Otherwise. the policy group is shared: the total throughput for the workloads assigned to the policy group
                     cannot exceed the specified ceiling.

                     Set -is-s   hared•false       for the gos   policy-group   create   command to specify a non-shared policy group.

                   • You can specify the throughput limit for the ceiling in IOPS, MB/s, or IOPS, MB/s. If you specify both IOPS and MB/s, whichever limit is
                     reached first is enforced .

                     Note: If you set a ceiling and a floor for the same workload, you can specify the throughput limit for the ceiling in IOPS only.

                   • A storage object that is subject to a QoS limit must be contained by the SVM to which the policy group belongs. Multiple policy groups
                     can belong to the same SVM.

                   • You cannot assign a storage object to a policy group if its containing object or its child objects belong to the policy group.

                   • It is a QoS best practice to apply a policy group to the same type of storage objects .




              https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
              mon%2FGUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.

               Understanding shared and non-shared QoS policy groups

               Starting with ONTAP 9.4 , you can use a non-sharedQoS policy group to specify that the defined throughput ceiling or floor applies to each
               member workload individually . Behavior of shared policy groups depends on the policy type:


                  • For throughput ceilings , the total throughput for the workloads assigned to the shared policy group cannot exceed the specified ceiling .

                  • For throughput floors, the shared policy group can be applied to a single workload only.




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              https://docs.netapp.com/ontap-9/index.jsp?topic=%2Fcom.netapp.doc.pow-perf-
              mon%2FGUID-B144F39A-2E14-4048-91CA-D8080C50F70D.html.
               Steps

                 1. Create a policy group :

                   qo • polic          y - g r oup crea t e - po licy     g r o up po lJ.c y_g ro up - v • erver      SVH -max -t hr oughput               awab er _o f_ i op • 1Hh/S I i op • , Mb/ S -is-s    ha r e d
                   true     I f alse
                   For complete command syntax, see the man page. You can use the gos policy-group                                     modify command to adjust throughput ceilin g s.

                   Example
                   The lo lio'Mng comman d creates the shared policy g roup pg-v s l with a maximum throughpu t ol 5,000 IOPS:

                       cluaterl        : :> qoa policy     - group      create    -policy     group    pg-val      - vaerver       val     -max-throughput            SOOOiope - is - shared       true


                   Example
                   The follown g command crea tes the non-sha red policy grou p pg - vs J w,th a maximum thro ugh put of 100 IOPS or 400 Kb/5 :

                       cluster!::        > qos policy-group             create    -po l icy   group    pg-vs3      -vserver        vs3 -max-throughput                100iops,400KB/s        -is-shared        false       I
                   Example
                   The following comman d creates the non•shared po licy g rou p pg -va 4 withou t a through p ut limit:

                       cluster!::>          gos   policy-group          create    -policy     group    pg-ve4      - vserver       vs4     - is - shared      false


                 2. Ap p ly a policy group to an SVM, file, volume, or LUN:

                   • tor 11g e_ ob je ct       cr ea t e - v •e rv e r SVII - qo •- pol i cy - group     policy     _ group

                   For complete comma nd syntax, see the man pages. You can use the st orage _ object                             modify      com mand to appl y a different policy g roup to the storage object.

                   Example
                   The following comma nd applies po licy g rou p pg-ve l to SVM vs 1:

                       clusterl:        :> veerver      create       -vserver     val    -gos-policy-group          pg-val
                                                                                                                                                                                                                           I
                   Example
                   The follown g commands ap ply policy group pg-ap p to the vol umes appl and app2 :

                       clusterl:        :> volwae      create    -vserver        vs2    -volume   ap p l -aggregate            aggrl     -gos-policy-group             pg-app
                                                                                                                                                                                                                           I
                       clusterl:        :> volume      create    -v s erver      vs2    -volume   ap p 2 -aggregate            agg r l -gos-policy-group               pg-app
                                                                                                                                                                                                                           I
              https://docs.netapp.com/ontap-9/index.jsp?topic=/com.netapp.doc.pow-perf-
              mon/GUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.




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                3. Monitor policy group perfo rmance :

                  qo s a t atis   t ica   p e rformanc      e • bow

                  FOi' com plete comma nd syntax , see the man page .

                   Note : Monitor pe rforma nce from the clus ter. Do not use a tool on the host to monitor perfor mance.

                  Example
                  The following com mand shows policy g roup perfo rmance :

                   clusterl:      :> gos statistics                performance          show
                    Policy     Group                        IOPS              Throughput            Latency
                                                                         --------------- ----------
                    -total-                                  12316                4 7 . 76MB/s       1264 . OOus
                   pg _ vsl                                   5008                19. 56MB/s              2. 45ms
                   _System-Best-Effort                             62             13. 36KB/ s             4 .13ms
                   _ System-Background                             30                  OKB/s                   Oms


                4. Monitor workload performance :

                  qo a • tat ia t ica     work l o a d p e r f ormanc e • bow

                  For com plete com mand syntax , see the man page .

                   Note : Monitor pe rforma nce from the cluste r. Do not use a tool on the host to monitor performa nce .

                  Example
                  The following comman d shows WOfkload performance :

                   clusterl:      :> gos       statistics          workload       performance           show
                   workload                       ID          IOPS               Throughput              Latency


                    -total-                                    12320                    4 7. 84MB/s       1215.00us
                    appl - wid7967               7967           7219                    28.20MB/s          319 . 00us
                   vsl - widl2279               12279              5026                 19 . 63MB/s            2 . 52ms
                   _USERSPACE_APPS                     14               55              10. 92KB/s         236 . OOus
                   _Scan_Backgro          ..      5688                  20                     OKB/ s               Oms


                   Note: You can use the gos           sta t istics          workload     latency       show comman d to view detailed latency statistics for QoS workloads .




              https://docs.netapp.com/ontap-9/index.jsp?topic=/com.netapp.doc.pow-perf-
              mon/GUID-77DF9BAF-4ED7-43F6-AECE-95DFB0680D2F.html.




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